Order Form (01/2005)
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                               United States District Court, Northern District of Illinois

     Name of Assigned Judge         Rebecca R. Pallmeyer        Sitting Judge if Other
        or Magistrate Judge                                      than Assigned Judge

   CASE NUMBER                           10 C 2748                          DATE                       7/1/2010
            CASE                                     Tamburo vs. NCO Financial Systems, Inc.
            TITLE

  DOCKET ENTRY TEXT

  Motion hearing held on 7/1/10. Motion by plaintiff to strike the defendant’s amended affirmative defenses
  [17] is entered and continued to 7/13/10 at 9:00 a.m. Parties are encouraged to pursue settlement efforts.




                                                                                                               Docketing to mail notices.

  00:02




                                                                                         Courtroom Deputy               LCW
                                                                                                   Initials:




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